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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




      UNITED STATES OF AMERICA,            CR 20-38 DSF
          Plaintiff,
                                           Order DENYING Ex Parte
                      v.                   Application for Discovery of
                                           Medical Records (Dkt. 54)
      BRADFORD SHEPLEY,
          Defendant.



        Defendant Bradford Shepley moves ex parte for permission to
  serve the “California Department of Justice, CURES Program, doctors,
  hospitals, and treatment centers” with subpoenas for the medical
  records of K.S. Dkt. 54 (Application). The government opposes the
  Application, referring the Court to docket 51. 1 Shepley’s earlier-filed
  motion for a discovery order requiring the government to seek K.S’s
  medical records, dkt. 47, which the government opposed, dkt. 51, is still
  pending. 2 His motion for dismissal of Count Two of the indictment
  based on insufficient and incompetent evidence, dkt. 48 (Mot. to
  Dismiss), which the government also opposed, dkt. 52 (Opp’n to Mot. to




  1The Opposition is conclusory on this point and little help to the Court in
  evaluating the Application.
  2   It appears that motion may now be moot.
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  Dismiss) is still pending. The Application is DENIED without
  prejudice.

                            I. BACKGROUND

         After Shepley, Jonathan Lowe, and Arielle Tepel allegedly sold
  heroin to K.S. on November 5, 2017, dkt. 1 (Indictment), K.S.’s parents
  found him dead in his bedroom with a syringe partially full of heroin in
  his hand. Opp’n to Mot. to Dismiss at 3; dkt. 52-1 (Medical Report) at
  3. When he was found, K.S. had “[n]umerous RX drugs” in his
  bedroom, including “buspirone, trazodone, clonazepam, naltrexone,
  abilify, quietapine, and doxyc[y]cline,” Medical Report at 3, to treat his
  “anxiety, depression, insomnia, panic disorder, opioid dependence, and
  bipolar disorder.” Mot. to Dismiss at 1.

        On November 7, 2017, the Ventura County Medical Examiner’s
  Office performed an autopsy and took femoral blood and urine samples
  from K.S. Mot. to Dismiss at 1; Medical Report at 11. The Examiner’s
  Office then sent samples to the National Medical Services Laboratory
  (NMS Labs), which conducted testing on the femoral blood samples.
  Mot. to Dismiss at 1; Opp’n to Mot. to Dismiss at 1. NMS Labs
  conducts “poly-drug testing of the specimens for, amongst other
  compounds, the following general compound classes: Amphetamines,
  Anticonvulsants, Antidepressants, Antihistamines, Antipsychotic
  Agents, Benzodiazepines, CNS Stimulants, Cocaine and Metabolites,
  Hallucinogens, Hypnosedatives, Hypoglycemics, Muscle Relaxants,
  Non-Steroidal Anti-Inflammatory Agents, Opiates and Opioids.” Opp’n
  to Mot. to Dismiss at 1; Medical Records at 15. The testing revealed a
  morphine concentration of 88 ng/mL in K.S.’s blood. Medical Records
  at 11. Dr. Christopher Young of the Examiner’s Office concluded from
  the testing and his review of the evidence that K.S. died as a result of
  heroin intoxication. Id. at 16.




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        Shepley provided expert reports that raise doubts about the cause
  of K.S.’s death. 3

                              II. DISCUSSION

          Shepley has now apparently received information concerning
  K.S.’s medical history and medical providers from K.S.’s parents and
  wants permission to subpoena records of those providers. But the
  proposed subpoenas are overbroad. Although the reports of the defense
  experts raise questions about the validity of Dr. Young’s conclusion
  about the cause of K.S.’s death, they do nothing to explain why records
  from as many as five years preceding K.S.’s death are relevant. Nor do
  they explain why all of the items requested are relevant. See, e.g.,
  Subpoena to Carol R. Kiriakos (requiring production of “all records and
  diagnoses (including charts, notes (both doctors and nurses), requested
  tests and results, x-rays, scans, emails and other communications from
  November 5, 2013 to November 2017 concerning the medical
  condition/s of [K.S.]. In addition, you must provide records of all
  prescriptions issued to [K.S.] for a period five years prior to [K.S.’s]
  overdose on November 5, 2017.”); Subpoena to La Ventana Treatment
  Programs (requiring production of numerous categories of information
  and purporting to require the subpoenaed party to prepare several
  lists).

       Shepley may submit more narrowly drawn proposed subpoenas
  supported by expert declarations explaining why the requested
  documents are relevant to Shepley’s defense.

        IT IS SO ORDERED.



      Date: July 6, 2021                   ___________________________
                                           Dale S. Fischer
                                           United States District Judge

  3Those reports are attached to docket 48, not docket 47 as suggested by
  Shepley.
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